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             IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF TEXAS
                      AMARILLO DIVISION



TEXAS BANKERS ASSOCIATION
203 W. 10th St.
Austin, TX 78701

AMARILLO CHAMBER OF                          Civil Case No.: 2:24-cv-00025
COMMERCE
1000 S. Polk St.
Amarillo, TX 79101

AMERICAN BANKERS
ASSOCIATION
1333 New Hampshire Ave. NW,
Washington, DC 20036

CHAMBER OF COMMERCE OF
THE UNITED STATES OF
AMERICA
1615 H Street, N.W.
Washington, DC 20062

LONGVIEW CHAMBER OF
COMMERCE
410 N. Center St.
Longview, TX 75601

INDEPENDENT COMMUNITY
BANKERS OF AMERICA
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Washington, DC 20036
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INDEPENDENT BANKERS
ASSOCIATION OF TEXAS
1700 Rio Grande St, Ste. 100
Austin, TX 78701

      Plaintiffs,

             v.

OFFICE OF THE COMPTROLLER
OF THE CURRENCY and MICHAEL
J. HSU in his official capacity as
Acting Comptroller of the Currency,
400 7th St. SW
Washington, DC 20219

BOARD OF GOVERNORS OF THE
FEDERAL RESERVE SYSTEM and
JEROME POWELL in his official
capacity as Chairman of the Board of
Governors
Constitution Ave NW & 20th St. NW
Washington, DC 20551

FEDERAL DEPOSIT INSURANCE
CORPORATION and MARTIN
GRUENBERG in his official capacity
as Chairman of the FDIC
550 17th St NW
Washington, DC 20429

      Defendants.



  MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION
           FOR A PRELIMINARY INJUNCTION

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I.     INTRODUCTION

       The Community Reinvestment Act of 1977 (“CRA”), 12 U.S.C. § 2901 et. seq., is a

landmark piece of legislation that Congress enacted to reverse years of government policies and

private market actions that deprived lower-income areas of credit due to “redlining”—the

practice of refusing to extend credit in certain neighborhoods deemed too risky (primarily low-

income and inner-city neighborhoods). Congress found that regulated financial institutions have

“a continuing and affirmative obligation to help meet the credit needs of the local communities

in which they are chartered.” 12 U.S.C. § 2901(a)(3). Consistent with this finding, the CRA

instructs the banking agencies to “assess” a financial institution’s “record of meeting the credit

needs of its entire community, including low-and-moderate income neighborhoods, consistent

with the safe and sound operation of such institution.” Id. § 2903(a)(1) (emphases added).

Under the statute, these assessments must separately evaluate each metropolitan area in which a

regulated bank maintains one or more branch offices or deposit-taking facilities, such as a

deposit-taking ATM. Id. §§ 2906(b)(1)(B), 2906(e)(1). The statute, accordingly, imposes

obligations on banks with respect to credit needs of the communities in which they have a

physical presence and accept deposits.

       The Board of Governors of the Federal Reserve System (“Federal Reserve”), the Federal

Deposit Insurance Corporation (“FDIC”), and the Office of the Comptroller of the Currency

(“OCC”) (collectively “the Agencies”), 1 however, recently published regulations in the Federal

Register, 89 Fed. Reg. 6574 (Feb. 1, 2024) (to be codified at 12 C.F.R. §§ 25, 228, and 345)

(hereinafter the “Final Rules”), that ignore these critical statutory limitations in at least two


1
  The OCC is the primary regulator for national banks, while the Federal Reserve is the primary
regulator for bank holding companies and some state banks. The FDIC is the primary regulator
for state banks that are not members of the Federal Reserve.

                                                   1
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obvious respects. First, the Agencies seek to assess banks outside of the geographies in which

they have a physical presence and accept deposits, and second, the Agencies seek to assess banks

on their deposit products, rather than on their response to the credit needs of their communities.

Each departure from the statutory text is plain on the face of the Final Rules, and each provides

an independently sufficient basis for vacatur.

       Because their members will suffer irreparable harm if forced to comply with these Final

Rules before this challenge can be heard on the merits, Plaintiffs—the Texas Bankers

Association, Amarillo Chamber of Commerce, American Bankers Association, Chamber of

Commerce of the United States of America, Longview Chamber of Commerce, the Independent

Community Bankers of America, and the Independent Bankers Association of Texas—

respectfully request that this Court enter a preliminary injunction. Banks have already begun

assessing the nearly 650 pages in the Federal Register that make up these Final Rules and

updating their operations to ensure compliance with new and onerous data collection, validation,

and reporting requirements for broad assessment areas throughout the country. That process—

which will require banks to, among other things, develop and test new computer programs and

data collection capabilities, conduct program planning and analyses, hire more information

technology (“IT”) and compliance personnel, conduct extensive staff training, upgrade vendor

relationships, and modify strategic plans to position themselves for the January 1, 2026

operational start date—will be time-consuming and costly. See generally App. 001–059, Exs. 1–

10; see also infra Parts III(C), (D). Even the Agencies concede that banks will spend hundreds

of thousands of hours and over $90 million to comply with the Final Rules within the first twelve

months. 89 Fed. Reg. 7106. And none of these implementation costs will be recoverable even if

this Court determines that the Agencies have exceeded their statutory authority.



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       This irreparable harm far outweighs any interest that the Agencies or public may have in

forcing banks to continue efforts to comply with the Final Rules while this litigation is pending.

Under the current CRA rules, almost all banks receive an “Outstanding” or “Satisfactory”

rating 2—removing any doubt that the present regime is serving the low- and moderate-income

borrowers whom Congress sought to benefit. The Agencies’ goal to modernize the statute and

expand banks’ CRA obligations, to the tune of tens of millions of dollars in compliance costs, is

not a sufficient basis for upending the status quo before Plaintiffs’ claims can be heard on the

merits. A preliminary injunction is plainly warranted.

II.    BACKGROUND

       A.      The Community Reinvestment Act

       As noted above, Congress enacted the CRA in 1977 to address the significant problem of

redlining, through which borrowers in low or moderate-income communities were sometimes

deemed unworthy of credit solely because of where they lived. 3 Congress was of the view that

banks had an obligation to serve the credit needs of the entire community where banks accepted

deposits, not just affluent parts of those communities. See U.S. Congress, Sen. Committee on

Banking, Housing and Urban Affairs, Community Credit Needs, S. 406 (95th Cong. 1st Sess.)

(Mar. 23–25, 1977) at 1–49. Accordingly, the statute explains that its purpose is “to help meet




2
 See Office of the Comptroller of the Currency, CRA Performance Evaluations,
https://occ.gov/publications-and-resources/tools/index-cra-search.html.
3
  See RICHARD D. MARSICO, DEMOCRATIZING CAPITAL: THE HISTORY, LAW AND REFORM OF THE
COMMUNITY REINVESTMENT ACT 11 (2005) (“The legislative history of the Community
Reinvestment Act shows that the purpose of the CRA was to end the bank practice known as
redlining—refusing to lend in certain neighborhoods, especially low-income, predominantly
minority, and inner city neighborhoods—due to perceived credit risks and to increase the amount
of money banks lend in their local communities.”).

                                                 3
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the credit needs of the local communities in which [banks] are chartered consistent with the safe

and sound operation of such institutions.” 12 U.S.C. § 2901(b).

        To achieve that purpose, the CRA instructed each supervisory banking Agency—the

FDIC, the OCC, and the Federal Reserve—“in connection with its examination of a financial

institution . . . [to] assess the institution’s record of meeting the credit needs of its entire

community, including low- and moderate-income neighborhoods, consistent with the safe and

sound operation of such institution.” 12 U.S.C. § 2903(a)(1). And it instructed the Agencies to

“take such record into account in its evaluation of an application for a deposit facility by such

institution.” Id. § 2903(a)(2). It further instructed the Agencies to prepare a written evaluation

“separately for each metropolitan area in which a regulated depository institution maintains one

or more domestic branch offices,” id. § 2906(b)(1)(B), and to assign the institution a “rating” of

“Outstanding,” “Satisfactory,” “Needs to improve,” or “Substantial noncompliance.” Id.

§ 2906(b)(1)(A)(iii), (b)(2).

        The CRA has been immensely successful. For more than 45 years, banks have extended

trillions of dollars of credit to serve the needs of low- and moderate-income individuals in their

communities. In 2022 alone, banks provided more than $227 billion in capital to low- and

moderate-income individuals and businesses in the form of mortgages and small business loans,

and an additional $151 billion in community development loans. 4 And in their most recent CRA




4
 Federal Financial Institutions Examination Council, Federal Bank Regulatory Agencies Release
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                                                    4
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assessments, more than 98% of banks received either an “Outstanding” or a “Satisfactory” CRA

rating. 5

            B.     The Substance of the Final Rules

            Spanning 649 triple-column pages, the Final Rules are “by far the longest rulemaking the

FDIC has ever issued.” 6 But they are not just of epic proportion; the Final Rules are also of

Byzantine complexity. They fashion four new performance tests, which include a confusing

number of quantitative and qualitative sub-tests that could produce hundreds of scores,

conclusions, and ratings. And those scores, conclusions, and ratings are keyed not merely to a

bank’s performance in places where a bank has a physical presence and accepts deposits, but

across geographies that could include an entire state or, indeed, anywhere a bank makes a retail

loan. As FDIC Director McKernan noted in his dissent 7: “The approximately 60,000 words of

rule text (including appendices), which contains more than 40 benchmarks and 20 metrics, are

enough to preclude anyone from comprehending the rule as a whole. More problematically, big

chunks of the rule remain unfinished works in progress.” 8

            Two of the new performance tests announced in the Final Rules are of particular

relevance here. First, the Agencies adopted a “Retail Lending Test” that evaluates the



5
 See Office of the Comptroller of the Currency, CRA Performance Evaluations,
https://occ.gov/publications-and-resources/tools/index-cra-search.html.
6
 Statement by Vice Chairman Travis Hill on the Final Rule on Community Reinvestment Act
Regulations (October 24, 2023), https://www.fdic.gov/news/speeches/2023/spoct2423c.html.
7
 The FDIC Board voted 3-2 in favor of the Final Rules, with Vice Chairman Travis Hill and
Director Jonathan McKernan in dissent. See supra fn. 6; infra fn. 8.
8
 Statement by Jonathan McKernan, Director, FDIC Board of Directors, on the Final Rule
Implementing the Community Reinvestment Act (October 24, 2023),
https://www.fdic.gov/news/speeches/2023/spoct2423f.html (hereinafter “Director McKernan
Statement”).

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performance of certain banks in “Retail Lending Assessment Areas” and “Outside Retail

Lending Areas.” A Retail Lending Assessment Area consists of any metropolitan statistical area

or the combined non-metropolitan statistical areas of a state in which a bank that does not

originate 80% of its loans within its Facility-Based Assessment Areas (i.e., areas where the bank

takes deposits through physical facilities like branches and deposit-taking ATMs) originated at

least 150 closed-end home mortgage loans or at least 400 small business loans in each of the two

preceding calendar years. 89 Fed. Reg. 6577. Many large banks will have several Retail

Lending Assessment Areas under the Final Rules, and at least two banks will have more than

100 new assessment areas. See id. at 6740 (Table 1 of § __.17), 6754 (Table 4 of § __.17).

       An Outside Retail Lending Area is the nationwide area outside the bank’s Facility Based

Assessment Areas and Retail Lending Assessment Areas where it made any other CRA-relevant

loans. Id. at 6577. By definition, Retail Lending Assessment Areas and Outside Retail Lending

Areas have no connection to a bank’s physical, deposit-taking footprint. See id. Disregarding

not only the plain language of the statute but also decades of practice, the Final Rules make

lending activity rather than deposit-taking activity the trigger for a bank’s obligation to help meet

credit needs. The Retail Lending Test accounts for 40% of large banks’ CRA ratings and 50% of

intermediate banks’ CRA ratings. Id. at 7026, 7047.

       The second test of relevance to this motion is the Retail Services and Products Test,

which generally utilizes benchmarks and comparators to assess a bank’s CRA performance based

on the services and products that it offers. On the services side, the Agencies will assess branch

availability, branch services (including whether the branches offer “[f]ree or low-cost check

cashing services,” “reasonably priced international remittance services,” and “electronic benefit

transfers”), remote service availability, and digital delivery systems (including “[t]he number of

checking and savings accounts opened each calendar year during the evaluation period digitally
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and through other delivery systems in low-, moderate-, middle-, and upper-income census

tracts”). Id. at 7120–21. On the products side, the Agencies will evaluate, among other things,

whether banks offer deposit products with low-cost features, such as no overdraft or non-

sufficient fund fees, no or low minimum opening balances, no or low monthly maintenance fees,

and free or low-cost check-cashing and bill-pay services, as well as the uptake and usage of

accounts with these features by customers in low- and moderate-income areas. Id. at 7121–22.

This test accounts for 10% of a large bank’s CRA rating. Id. at 7026.

        Along with these tests, the rules also prescribe a series of data collection, maintenance,

and reporting requirements, primarily relating to deposit information. The Agencies plan to use

this information in conducting assessments under the Final Rules. Id.

        C.      The Final Rules: Effective Dates

        The Agencies issued a Notice of Proposed Rulemaking on June 3, 2022. See 87 Fed.

Reg. 33884 (June 3, 2022). The Final Rules were announced by the Agencies on October 24,

2023, but were not published in the Federal Register until February 1, 2024. They will take

effect on April 1, 2024. 89 Fed. Reg. 6578.

        The Final Rules require banks to begin complying with most of the provisions (those

involving new tests, definitions, and data collection and maintenance requirements) by January

1, 2026. Id. Reporting requirements start on January 1, 2027. Id. at 6579. Banks must begin

reporting data consistent with the Final Rules every April 1st beginning April 1, 2027. Id. As a

practical matter, January 1, 2026, the date on which compliance with the Final Rules must begin,

starts the first performance periods. However, as explained below, given the magnitude of the

changes, banks are already incurring substantial, non-recoverable compliance costs to prepare for

implementing the Final Rules and, as the Agencies concede, see id. at 7106, will spend over $90

million in the first year alone.
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III.   ARGUMENT

       A.      The Legal Standard for a Preliminary Injunction

       “The decision to grant or deny a preliminary injunction lies within the sound discretion of

the trial court.” Sambrano v. United Airlines, Inc., No. 21-11159, 2022 WL 486610, at *3 (5th

Cir. Feb. 17, 2022) (per curiam) (citing White v. Carlucci, 862 F.2d 1209, 1211 (5th Cir. 1989)).

A preliminary injunction is intended to preserve the status quo to protect the plaintiff from

irreparable injury and preserve the court’s power to render a meaningful decision. Id. at *4.

       In this Circuit, plaintiffs are entitled to a preliminary injunction if they demonstrate: (1) a

substantial likelihood of success on the merits; (2) a substantial threat that failure to grant the

injunction will result in irreparable injury; (3) that the threatened injury outweighs any

threatened harm to the party sought to be enjoined; and (4) that granting the injunction will not

disserve the public interest. Louisiana v. Biden, 55 F.4th 1017, 1022 (5th Cir. 2022).

       While “[t]he first two factors are the most critical,” Wages & White Lion Invs., L.L.C. v.

FDA, 16 F. 4th 1130, 1142 (5th Cir. 2021), no particular factor is dispositive. Rather, “the Court

must weigh each factor against the others and against the form and magnitude of the relief

requested.” Id. (citation omitted). A strong showing on one factor can compensate for a less

strong position on another. See Texas v. United States, 515 F. Supp. 3d 627, 631 (S.D. Tex.

2021) (citing State of Tex. v. Seatrain Int’l, S.A., 518 F.2d 175, 180 (5th Cir. 1975)). Plaintiffs

must demonstrate a substantial likelihood of success on “at least one” claim. Texas v. United

States, 86 F. Supp. 3d 591, 672 (S.D. Tex. 2015) aff’d, 809 F.3d 134 (5th Cir. 2015). This means

Plaintiffs need only establish a prima facie case. Daniels Health Scis. L.L.C. v. Vascular Health

Scis. L.L.C., 710 F.3d 579, 582 (5th Cir. 2013).




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       B.      Plaintiffs Have a Substantial Likelihood of Success on the Merits Because the
               Final Rules Exceed the Agencies’ Statutory Authority.

       Although there are myriad problems with the Final Rules set forth in the Complaint, this

Motion primarily addresses two glaring issues of statutory overreach—assessments of areas

outside a bank’s physical deposit-taking footprint and assessments of a bank’s deposit products.

Each contravenes the plain text of the CRA, and each is an independent and sufficient basis to

establish Plaintiffs’ likelihood of success on the merits.

               1.      The Final Rules Violate the CRA’s Instruction to Evaluate a Bank
                       Only Based on its Performance within its Community.

       When “the statute’s language is plain, the sole function of the courts is to enforce it

according to its terms.” United States v. Ron Pair Enters., Inc., 489 U.S. 235, 241 (1989)

(citation omitted). The Court “begin[s] with the assumption that the words were meant to

express their ordinary meaning.” United States v. Kaluza, 780 F.3d 647, 659 (5th Cir. 2015)

(citation and internal quotation marks omitted); see also Vanderstok v. Garland, 625 F. Supp. 3d

570, 578–79 (N.D. Tex. 2022).

       The CRA instructs that the Agencies “shall assess” a bank’s “record of meeting the credit

needs of its entire community, including low-and moderate-income neighborhoods, consistent

with the safe and sound operation of such institution.” 12 U.S.C. § 2903(a)(1). These

assessments must separately evaluate each metropolitan area in which a bank maintains one or

more branch offices or deposit-taking facilities, such as an ATM. Id. §§ 2906(b)(1)(B),

2906(e)(1). And the CRA instructs the Agencies to then “take such record into account in its

evaluation of an application for a deposit facility by such institution.” Id. § 2903(a)(2). The

purpose of these assessments is “to encourage [financial] institutions to help meet the credit

needs of the local communities in which they are chartered consistent with the safe and sound



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operation of such institutions.” Id. § 2901(b). In other words, Congress limited CRA assessment

areas to those communities surrounding a bank’s deposit-taking facilities.

        Although Congress did not itself define the word “community,” the statutory indicia

confirm that it used this term in the ordinary sense as referring to a geographic subunit along the

lines of a town. Webster’s Third New International Dictionary (1981) defines “community” as

“a body of individuals organized into a unit or manifesting usually with awareness of some

unifying trait[;] . . . the people living in a particular place or region and usually linked by

common interests.” In sections 2901(a)(3) and (b), Congress clarified that banks were required

to meet the needs of their “local communities,” not the credit needs of their entire state or nation.

12 U.S.C. §§ 2901(a), (b). Webster’s Collegiate Dictionary (1974) defines “local” as “not

general or widespread,” and “primarily serving the needs of a particular limited district.”

Likewise, Webster’s Third New International Dictionary (1981) defines “local” as “not general

or widespread” and “primarily serving the needs of a particular limited district, often a

community or minor political subdivision . . . applicable in or relating to such a district only.”

        Further support for this circumscribed, ordinary meaning of “community” is found

elsewhere in the statute. It only makes sense for the CRA to instruct the Agencies to consider a

bank’s lending separately for “each metropolitan area in which a regulated depository institution

maintains one or more domestic branches,” 12 U.S.C. § 2906(b)(1)(B) (emphasis added), and to

impose consequences with respect to applications for particular deposit facilities, id.

§ 2903(a)(2), if one considers “community” and “local communities” at this geographic sublevel.

It likewise makes sense that Congress referred to a purpose of serving “local” communities and

that it referred to the geographical subunit of “low- and moderate-income neighborhoods” in

emphasizing the need to serve a bank’s entire community. Neighborhoods would ordinarily be

understood as one geographic subunit down from a “local community.” One would not
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ordinarily refer to the “nation, including particular neighborhoods.” Instead, in the United

States, one would refer to the nation as a whole, including particular States, or to States as a

whole, including particular counties, moving down one geographic subunit at a time. That is

exactly what Congress did here. In sum, the textual features of the statute are all consistent with

the long-term understanding that the CRA focuses on lending in the particular, defined, and

limited geographic areas in which a bank’s deposit-taking facilities are located.

          That ordinary understanding also aligns with Congress’s purpose. Congress was

concerned with the geographical mismatch between deposit-taking activities and lending

activities. It understood that banks were using deposits collected from throughout the local

communities in which they were located, but disproportionately funding loans and other

extensions of credit to affluent portions of those communities. 9 In the CRA, Congress

encouraged banks to reinvest in all parts of the communities from which they took deposits, not

just the wealthy neighborhoods.

          In addition, since its enactment, regulations issued pursuant to the CRA have reflected

this focus on a bank’s physical, deposit-taking footprint. See, e.g., 12 C.F.R. § 228.41. The

Agencies have always required bank examiners to focus on bank-designated “assessment areas,”

which are “geographies in which the bank has its main office, its branches, and its deposit-taking

ATMs, as well as the surrounding geographies in which the bank has originated or purchased a

substantial portion of its loans.” See id. §§ 228.41(a), (b), & (g) (“Assessment area

delineation”); see also id. § 228.12(k) (defining “geography” as a census tract); id. § 228.41(c)

(defining assessment areas as those census tracts encompassing the bank’s deposit-taking




9
    See supra fn. 3.

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facilities, and the census tracts surrounding those facilities). The Agencies have thus followed

Congress’s mandate in their implementing regulations, until now.

       Although the Final Rules continue to incorporate the traditional deposit-focused Facility

Based Assessment Areas, the newly-minted Retail Lending Assessment Areas and Outside Retail

Lending Areas will assess banks on their activities far beyond communities where the bank has a

physical, deposit-taking presence, sweeping in any location in the United States where the bank

makes a retail loan. 89 Fed. Reg. 6577. This expansion exceeds the Agencies’ powers under the

statute, 10 as both Jonathan McKernan of the FDIC and Michelle Bowman of the Federal Reserve

Board have recognized. 11 This expanded meaning strays from the Agencies’ prior reading of the

term, the CRA’s text, and Congress’s intent—all of which make clear that the term “community”

refers to the areas in which a bank is physically present and accepts deposits.

       Congress certainly knew how to alter the geographic focus of the CRA when necessary.

The one exception it created to the CRA requirement that assessment areas be defined

geographically based on banks’ physical, deposit-taking presence is for banks serving military

personnel. Congress provided, in 12 U.S.C. § 2902(4), that “[a] financial institution whose

business predominately consists of serving the needs of military personnel who are not located

within a defined geographic area may define its ‘entire community’ to include its entire deposit


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  While the Final Rules (as opposed to the Proposed Rules) seek to decrease both the number of
banks impacted by the Retail Lending Assessment Area requirements and the number of such
assessment areas these banks will have, once the Agencies have unilaterally expanded their
authority to regulate outside a bank’s deposit-based community, there is no limit on how far they
might go, including what the Agencies may do down the road to further increase the number of
Retail Lending Assessment Areas.
11
   See supra fn. 8 & accompanying text; see also Governor Michelle W. Bowman, Statement on
the Community Reinvestment Act Final Rule 5 (Oct. 24, 2023),
https://www.federalreserve.gov/aboutthefed/boardmeetings/files/bowman-statement-
20231024.pdf (hereinafter “Governor Bowman Statement”).

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customer base without regard to geographic proximity.” As a result, 12 C.F.R. § 228.41(f)

provides that: “Notwithstanding the requirements of this section, a bank whose business

predominantly consists of serving the needs of military personnel or their dependents who are

not located within a defined geographic area may delineate its entire deposit customer base as its

assessment area.” Since Congress knew how to expand the reach of the statute, but did so only

for banks serving military personnel, there is no merit to the Agencies’ argument that they can, at

will and without limitation, extend the geographic reach of the statute for all other banks.

       What is more, even in the broader, military application of the term “entire community,”

Congress still required that the focus be on a bank’s “deposit customer base,” not where the bank

conducted its retail lending. This is true in the rest of the statute as well. For decades, a bank’s

assessment area(s) have been determined based on where a bank maintains one or more branch

office(s) or deposit-taking facilities, such as an ATM. 12 U.S.C. §§ 2906(b)(1)(B), 2906(e)(1).

It is deposit activity that has long triggered CRA assessment areas, not retail lending. The Final

Rules turn the statutory language on its head, triggering CRA assessment areas not only outside

of a bank’s physical, deposit-taking footprint, but based on retail lending.

       The fact that the CRA itself does not expressly define the term “community” does not

mean the Agencies have carte blanche to interpret it as they see fit. When there is no statutory

definition of a term, a court looks to the understanding of the term at the time of the statute’s

enactment, to the common sense meaning of the term, and to the purposes of the statute as well

as the entire statutory scheme. See, e.g., West Virginia v. EPA, 597 U.S. 697, 721 (2022) (“It is

a fundamental canon of statutory construction that the words of a statute must be read in their

context and with a view to their place in the overall statutory scheme.”); District of Columbia v.

Heller, 554 U.S. 570, 576–77 (2008) (describing the importance of interpreting a text based on

how its words and phrases were used in their normal and ordinary usage); see also United States
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v. Moore, 71 F.4th 392, 395 (5th Cir. 2023) (emphasizing the need to examine the context of the

statute); ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE INTERPRETATION OF LEGAL

TEXTS 16 (2012) (“In their full context, words mean what they conveyed to reasonable people at

the time they were written.”). 12 And as explained above, those indicia all confirm that the CRA

does not authorize the Agencies to examine banks outside of the communities in which they have

branches or other deposit-taking facilities. Indeed, the expressed statutory purpose is confined to

the term “local communities.” 12 U.S.C. § 2901.

       The Agencies’ contrary interpretation of “community” is rooted not in the text, but in the

Agencies’ assessment of what would be better policy. See 89 Fed. Reg. 6748. Specifically, the

Agencies claim that because the statute does not expressly “define what geographic units the

agencies should use in assessing a bank’s record of meeting the credit needs of its entire

community,” it is reasonable to interpret the term to sweep in the entire country to “adapt[] to

ongoing changes in the banking industry.” See id. But the statutory text is not so malleable. As

Governor Bowman observed in her dissent: “Congress, not the banking agencies, is responsible

for modernizing the statute.” Governor Bowman Statement at 5; see also Director McKernan

Statement (“I have not seen a convincing argument that we have the authority to consider

lending activities outside a bank’s facility-based assessment areas.”). Congress has considered

and either rejected or not acted on legislation that would substantially amend the CRA much like

the Final Rules. See, e.g., Community Reinvestment Modernization Act of 2000, H.R. 4893,

106th Cong. (2000); Community Reinvestment Modernization Act of 2001, H.R. 865, 107th

Cong. (2001); Community Reinvestment Modernization Act of 2007, H.R. 1289, 110th Cong.



12
 As Justice Barrett recently put it: “To strip a word from its context is to strip that word of its
meaning.” Biden v. Nebraska, ___ U.S. ___, 143 S. Ct. 2355, 2378 (Barrett, J., concurring).

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(2007); Community Reinvestment Modernization Act of 2009, H.R. 1479, 111th Cong. (2009);

Making Communities Stronger through the Community Reinvestment Act, H.R. 8833, 117th

Cong. (2022). The Agencies may not substitute their judgment for that of Congress.

         The Agencies’ interpretation of the CRA also runs afoul of the Major Questions Doctrine.

Under that doctrine, when an agency claims authority to resolve issues of political and economic

significance that one would ordinarily expect Congress to resolve in the first instance, the agency

must have more than a “merely plausible textual basis for the agency action.” West Virginia, 597

U.S. at 723. “The agency instead must point to ‘clear congressional authorization’ for the power

it claims.” Id. (citing Utility Air Reg. Grp. v. EPA, 573 U.S. 302, 324 (2014)); see also Exec.

Order No. 12866, 58 Fed. Reg. 51735 (1993) (requiring agencies to assess potential costs and

benefits of “significant” rules). This is especially true when, as here, “the history and the breadth

of the authority that the agency has asserted” is so expansive. West Virginia, 597 U.S. at 721

(internal citation and quotation omitted). Here, the power that the Agencies claim—to

“modernize” the CRA based on their assessment of its purposes and without constraint of the

text—implicates major political and economic matters that one would expect Congress to resolve

in the first instance. Not only do the Agencies purport to assess a bank’s CRA performance

anywhere they make a retail loan, they claim the power to regulate a bank’s deposit products as

well. Nothing in the plain language of the CRA provides the Agencies the clear authorization

required to support their expansive interpretation of the limits of the CRA.

         For all of these reasons, the statute unambiguously precludes the Agencies from assessing

a bank’s CRA performance outside its physical, deposit-taking footprint, and the Final Rules

must be vacated. Plaintiffs have thus demonstrated a probability of success on the merits on this

basis.



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               2.      The Final Rules Violate the Statutory Instruction to Focus on
                       Responsiveness to Credit Needs.

       The second major statutory error in the Final Rules is its authorization for the Agencies to

assess deposit products. As noted above, Congress’s instruction to the Agencies in the CRA was

explicit: to “assess the institution’s record of meeting the credit needs of its entire community.”

12 U.S.C. § 2903(b)(1). Congress knew the difference between “credit” and “deposit” activities.

Indeed, in its findings and statement of purpose, Congress recognized that communities have

“need for credit services as well as deposit services,” but Congress explicitly emphasized its goal

in the CRA: “to encourage such institutions to help meet the credit needs” of their local

communities. Id. § 2901. And it repeated that instruction in the operative part of the statute,

instructing agencies to assess an institution’s “record of meeting the credit needs of its entire

community” and “take such record into account in its evaluation of an application for a deposit

facility.” Id. § 2903(a). That focus on credit makes sense, as Congress was concerned about the

mismatch between banks accepting deposits from low- and moderate-income borrowers but not

serving those borrowers with their credit products.

       The Final Rules, however, expressly require the Agencies to assess deposits on both the

services and products side of the new Retail Services and Products Test. On the services side,

the Agencies must consider the number of checking and savings accounts opened each calendar

year during the evaluation period digitally and through other delivery systems in low-, moderate,

middle-, and upper-income census tracts. 89 Fed. Reg. 7120–21. And on the products side, the

Agencies must assess whether banks offer deposit products with certain “low-cost features,”

such as deposit products with no overdraft or insufficient funds fees, or other features facilitating

access by individuals without banking or credit histories or with adverse banking histories. Id. at




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7121. And the latter assessment will include not just the availability of those products, but their

usage as well.

       The Agencies claim “that there is a sufficient nexus between deposit products and the

provision of credit” for these inquiries because, for example, “individuals improve their financial

stability and build wealth through deposit accounts,” “deposit products can help consumers

qualify for loans by facilitating consumers’ savings so that they can post collateral and to pay

transaction costs,” and “deposit products are a pathway for a bank customer to establish an

ongoing relationship with a bank.” Id. at 6943–44.

       All of these things could be true, however, and it still would not enlarge the authority

granted to the Agencies by the statute. Congress could have instructed the Agencies more

broadly to assess an institution’s record of supporting the financial health of low- and moderate-

income borrowers. It likewise could have recognized any nexus between credit and deposit

products and instructed Agencies to assess an institution’s record of supporting the credit and

deposit needs of low- and moderate-income borrowers. It did not do so.

       The Agencies note that the existing regulations allow them generally to consider “[t]he

range of services provided in low-, moderate-, middle-, and upper-income geographies and the

degree to which the services are tailored to meet the needs of those geographies,” see 12 C.F.R.

§ 25.24(d)(4), and that certain questions and answers released in 2016 have interpreted this

language broadly to include some deposit products, see 81 Fed. Reg. 48542, 48543 (Jul. 25,

2016). But interpretive letters cannot change the underlying statute. And the fact that the

Agencies claimed no such authority until 2016 only underscores the disconnect between the

Agencies’ approach and the meaning of this 1977 statute.

       Likewise, the Agencies seem to suggest that their assessment of deposit products is in

some way permissible because the Final Rules instruct that the “evaluation of a bank’s retail
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banking products . . . may only contribute positively to the bank’s Retail Services and Products

Test conclusion.” 89 Fed. Reg. 6951. But that assertion ignores both that the Agencies gave no

such instruction for the services part of the test, id., which means that banks may still be

penalized for failing to open digitally a certain number of checking and savings accounts, and

that other aspects of the rule will force banks to compete with each other even on the products

side. In any event, the Agencies have no authority under the CRA to assess the institution’s

deposit products in the first place.

        Here, again, Plaintiffs have demonstrated a probability of success on the merits.

        C.     There is a Substantial Threat of Irreparable Harm Absent Injunctive Relief.

        The Fifth Circuit has recognized that because the APA waives sovereign immunity only

for “relief other than damages,” 5 U.S.C. § 702, a plaintiff who will not be able to recover

monies spent to comply with a new regulatory regime will, in the event the rules are overturned,

have suffered irreparable injury. See Louisiana v. Biden, 55 F.4th at 1033–34 (“[C]omplying

with a regulation later held invalid almost always produces the irreparable harm of

nonrecoverable compliance costs.”) (quoting Thunder Basin Coal Co. v. Reich, 510 U.S. 200,

220–21 (1994) (Scalia, J. concurring)); see also Texas v. EPA, 829 F.3d 405, 433 (5th Cir.

2016). 13

        The OCC itself estimates the initial compliance burden in the first 12 months starting

April 1, 2024 to be $91.8 million. 89 Fed. Reg. 7106. 14 The Agencies calculate that, industry-


13
  Accord Wages & White Lion Invs., 16 F.4th at 1142; Vanderstok v. BlackHawk Manufacturing
Group Inc., 639 F. Supp. 3d 722, 728 (N.D. Tex. 2022) (“[W]here costs are nonrecoverable
because the government-defendant enjoys sovereign immunity from monetary damages, as is the
case here, irreparable harm is generally satisfied.”).
14
  Of this amount, the OCC estimates that the costs will be broken down approximately as
follows: $7.9 million for banks to undertake increased data collection, recordkeeping or

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wide, banks will expend between approximately 105,500 and 235,000 hours in reporting,

recordkeeping, and disclosures. Id.

       As the attached declarations explain, the changes required by the Final Rules are of such

scale and complexity that banks must take immediate steps if they are to comply with the Final

Rules’ January 1, 2026 start date. See, e.g., App. 003, Ex. 1, Decl. of Texas Bankers Association

¶ 8; App. 009, Ex. 2, Decl. of Jason Harrison ¶¶ 7–8; App. 016–017, Ex. 3, Decl. of American

Bankers Association ¶¶ 9–10; App. 024, Ex. 4, Decl. of Thomas Quaadman ¶¶ 9–10; App. 031,

Ex. 5, Decl. of Kelly Hall ¶¶ 7–8; App. 040–41, Ex. 6, Decl. of Independent Community

Bankers of America ¶¶ 16–17; App. 045, Ex. 7, Decl. of Independent Bankers Association of

Texas ¶ 8; App. 048, Ex. 8, Decl. of Anonymous Bank A ¶¶ 4–8; App. 052–054, Ex. 9, Decl. of

Anonymous Bank B ¶¶ 4–6, 10; App. 057–058, Ex. 10, Decl. of Anonymous Bank C ¶ ¶ 3–5.

To illustrate, the Final Rules will require complicated and time-consuming system overhauls and

database updates. E.g., App. 009, Ex. 2, Decl. of Jason Harrison ¶ 8. Not only must banks

develop and test new computer programs and data collection capabilities, they must also conduct

program planning and analyses, upgrade vendor relationships, hire more IT, compliance and

lending personnel, and conduct extensive staff training. E.g. App. 009–10, Ex. 2 (Decl. of Jason

Harrison ¶¶ 9–10. All these expenses and more will be required for banks to comply with the

Final Rules. Such expenses satisfy the Fifth Circuit’s test for irreparable harm. See Restaurant

Law Ctr. v. U.S. Dep't of Labor, 66 F.4th 593, 600 (5th Cir. 2023).




reporting; $82 million for large banks to collect, maintain, and report annually geographic data
on deposits; and $1.9 million for certain banks to prepare and submit compliant strategic plans.
Putting aside the fact that its calculation dramatically underestimates the actual compliance
burden, and that the CRA is a credit statute only, nearly 90% of the OCC’s estimated costs is
attributable to collecting and reporting deposit data that has no connection to extensions of
credit.

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       Banks must begin preparing to comply immediately; thus, they are already incurring

substantial costs that will be unrecoverable even if the Final Rules are struck down. E.g. App.

009, Ex. 2, Decl. of Jason Harrison ¶ 7; App. 023, Ex. 4, Decl. of Thomas Quaadman ¶ 8. Every

day that the Final Rules remain in effect is a day that banks will continue incurring these costs.

There can be no doubt, therefore, that even if Plaintiffs ultimately prevail in this lawsuit, their

members will suffer irreparable harm absent a preliminary injunction.

       D.      The Balance of Equities and the Public Interest Weigh in Plaintiffs’ Favor.

       The final two elements of the standard for a grant of preliminary injunctive relief—the

balance of equities and the public interest—“merge” when the government is a party.

Vanderstok, 639 F. Supp. 3d at 727; see also Nken v. Holder, 556 U.S. 418, 435 (2009). In this

assessment, the Court weighs “the competing claims of injury and [ ] consider[s] the effect on

each party of the granting or withholding of the requested relief,” while also considering the

public consequences of granting injunctive relief. Winter v. Nat’l Res. Def. Council, Inc., 555

U.S. 7, 24 (2008) (internal citations omitted).

       Here, the balance of harms favors the Plaintiffs. The CRA is working well. Over 98% of

banks achieved an Outstanding or Satisfactory rating in their most recent assessment and there is

no evidence that a few months’ delay will have a material impact of any kind. Further, “there is

a substantial public interest in having governmental agencies abide by the federal laws that

govern their existence and operations.” Texas v. United States, 40 F.4th 205, 229 (5th Cir.

2022); see also League of Women Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir.

2016) (“There is generally no public interest in the perpetuation of unlawful agency action.”).

The public interest is particularly strong where, as here, the Agencies have overstepped their

statutory authority.



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        Further, in this case, the Agencies made no finding—and present no evidence—that the

Final Rules will result in a single additional CRA loan, much less enough additional CRA

lending to offset the Final Rules’ substantial compliance costs. In fact, as the declarations of

Anonymous Banks A and B and the ICBA make clear, the Final Rules will cause some banks to

retrench and reduce lending in certain locations to minimize compliance costs. App. 048–049,

Ex. 8, Decl. of Anonymous Bank A ¶ ¶ 8–10; App. 053, Ex. 9, Decl. of Anonymous Bank B ¶ 8;

App. 038, Ex. 6, Decl. of Independent Community Bankers of America ¶ 12 (explaining that, of

the bank respondents to an ICBA survey, 28.6% will reduce lending to avoid triggering RLAAs

under the Final Rules and another 25.6% are unsure if they will reduce lending). A preliminary

injunction, therefore, is in the public interest.

IV.     CONCLUSION

        For the reasons set forth above, Plaintiffs request that the Court issue a preliminary

injunction preserving the status quo until it renders a decision on the merits.

DATED: February 9, 2024

                                                Respectfully submitted,

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                         CERTIFICATE OF SERVICE
      I hereby certify that on February 9, 2024, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, thereby serving this document

on all attorneys of record in this case. Pursuant to Local Rule 5.1, I further certify

that the foregoing document is available for viewing and downloading on ECF.


                                              /s/Thomas C. Riney_____________




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